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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )
                     Plaintiff,              )
                                             )                    8:14CR183
       vs.                                   )
                                             )                      ORDER
MANUEL J. CABRERA,                           )
                                             )
                     Defendant.              )



      This matter is before the court on defendant's MOTION TO EXTEND DEADLINE FOR
FILING OF PRETRIAL MOTIONS [36]. For good cause shown, I find that the motion should
be granted. Pretrial Motions shall be filed by August 22, 2014.

       IT IS ORDERED:

     1.   Defendant's MOTION TO EXTEND DEADLINE FOR FILING OF PRETRIAL
MOTIONS [36] is granted. Pretrial motions shall be filed on or before August 22, 2014.

        2.     The ends of justice have been served by granting such motion and outweigh the
interests of the public and the defendant in a speedy trial. The additional time arising as a
result of the granting of the motion, i.e., the time between July 15, 2014 and August 22,
2014, shall be deemed excludable time in any computation of time under the requirement of
the Speedy Trial Act for the reason defendant's counsel required additional time to adequately
prepare the case, taking into consideration due diligence of counsel, and the novelty and
complexity of this case. The failure to grant additional time might result in a miscarriage of
justice. 18 U.S.C. § 3161(h)(8)(A) & (B).


       DATED this 15th day of June, 2014.

                                             BY THE COURT:


                                             s/ F.A. Gossett
                                             United States Magistrate Judge
